         Case 15-20060-TLM           Doc 1-1 Filed 02/02/15 Entered 02/02/15 18:10:39                      Desc
                                        Deficiency Notice Page 1 of 1
                                    UNITED STATES BANKRUPTCY COURT

                                                DISTRICT OF IDAHO


                                                             )
In Re:                                                       )
                                                             )   Case Number:       15−20060−TLM
Robert Williams Brooks III                                   )
3544 Highland Drive                                          )   Chapter Number: 7
Coeur D Alene, ID 83815                                      )
                                                             )
Social Security No.: xxx−xx−9980                             )
Employer's Tax I.D. No.:                                     )
                                                             )
Debtor                                                       )
                                                             )
Roberta Sue Brooks                                           )
3544 Highland Drive                                          )
Coeur D Alene, ID 83815                                      )
                                                             )
Social Security No.: xxx−xx−6510                             )
Employer's Tax I.D. No.:                                     )
                                                             )
Joint Debtor                                                 )
____________________________________________                 )

                                               DEFICIENCY NOTICE

To the Debtor(s) and his attorney, if any:

In order for this case to be administered, it is necessary that the item(s) described below be filed immediately or the
case may be DISMISSED after the due dates listed below.



Domestic Support Stmt due 02/17/2015
Employee Income Records due 02/17/2015
Ch 7 Income Form 22A−1 due 02/17/2015
Aty Disclosure Stmt. due 02/17/2015
Schedules A−J due 02/17/2015
Summary of Schedules due 02/17/2015
Statement of Intent due 02/17/2015
Stmt. of Fin. Affairs due 02/17/2015
Statistical Summary due 02/17/2015




                                                                 Elizabeth A Smith
Dated: 2/3/15                                                    Clerk, U.S. Bankruptcy Court
